Case 3:24-cv-00224-LS Document 1-1 Filed 07/01/24 Page 1 of 2




                 EXHIBIT A
       Case 3:24-cv-00224-LS Document 1-1 Filed 07/01/24 Page 2 of 2




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             EL PASO DIVISION

LETICIA WHITE,                                §
                                              §
      Plaintiff,                              §
                                              §
v.                                            §        CIVIL ACTION NO.: 3:24-CV-224
                                              §
FOLLETT HIGHER                                §
EDUCATION GROUP, LLC                          §
                                              §
      Defendant.                              §


 INDEX OF DOCUMENTS FILED WITH DEFENDANT’S NOTICE OF REMOVAL


     Exhibit A:    Index of Matters Filed with Defendant’s Notice of Removal

     Exhibit B:    Plaintiff’s Original Petition

     Exhibit C:    Service of Process

     Exhibit D:    Defendant’s Original Answer

     Exhibit E:    Docket Sheet for Leticia White v. Follett Higher Education Group, LLC,
                   Cause No. 2024-DCV-2562, in the County Court at Law 3 of El Paso
                   County, Texas.

     Exhibit F:    Declaration of Enrique Salgado.
